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United States of America,

vs.

Johnny Wesley Sparks,

Plaintiff,

Defendant(s).

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

Case No.: 22-cr-00115-CVE

ORDER: RULE 5 “BRADY”
DISCLOSURE

As required by Fed. R. Crim. P. 5(f)(1) and N.D. Okla. General Order 21-01, the Court

confirms the disclosure obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963) and

its progeny, and orders the United States to comply with that obligation in this case. Failure to timely

comply may result in consequences, including but not limited to exclusion of evidence, adverse jury

instructions, dismissal of charges, contempt proceedings, or sanctions by the Court.

IT IS SO ORDERED this August 30, 2022.

IA Arraignment Indictment Detention

Ose: Daye

Jodi F. Kyne, U.S. Magistrate Judge

(12/2021)
